       Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 1 of 23



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


ONTARIO TEACHERS’ PENSION PLAN                 Civil Action No. 3:17-cv-00558 (SRU)
BOARD, Individually and as Lead Plaintiff on
Behalf of All Others Similarly Situated; and
                                               CLASS ACTION
ANCHORAGE POLICE & FIRE
RETIREMENT SYSTEM, Individually and as
Named Plaintiff on Behalf of All Similarly-
Situated Bond Purchasers,

                     Plaintiffs,

vs.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., EREZ VIGODMAN, EYAL DESHEH,
SIGURDUR OLAFSSON, DEBORAH
GRIFFIN, and TEVA PHARMACEUTICAL
FINANCE NETHERLANDS III B.V.,


                     Defendants.


           HMG GLOBAL INITIATIVE INC.’S MEMORANDUM OF LAW
        IN SUPPORT OF MOTION TO INTERVENE TO OBTAIN AN ORDER
               STRIKING THE SECOND AMENDED COMPLAINT
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 2 of 23



                                              TABLE OF CONTENTS



I.     INTRODUCTION ...............................................................................................................1

II.    PROCEDURAL BACKGROUND......................................................................................3

III.   ARGUMENT .......................................................................................................................6

       A.        The SAC Is An Improper End-Run Around The PSLRA’s Notice And Lead

                 Plaintiff Selection Process .......................................................................................6

       B.        Ontario Teachers Lacks Class Standing To Assert And Cannot Adequately

                 Represent The Transferred Action’s Class ............................................................11

       C.        The Court Should Strike The New Allegations In The Second Amended

                 Complaint And Order Ontario Teachers To Proceed Solely On The Claims

                 In The First Amended Complaint ..........................................................................13

       D.        HMG Fulfills The Requirements To Intervene ......................................................14

IV.    CONCLUSION ..................................................................................................................16




                                                                 i
           Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 3 of 23



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Federal Cases

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) .................................................................................................................13

In re Bank of Am. Corp. Sec., Derivative &
    Emp. Ret. Income Sec. Act (ERISA) Litig.,
    2010 WL 1438980 (S.D.N.Y. Apr. 9, 2010)............................................................................14

Beckman Indus., Inc. v. Int’l Ins. Co.,
   966 F.2d 470 (9th Cir. 1992) ...................................................................................................15

California Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc.,
   137 S. Ct. 2042 (2017) .............................................................................................................14

Cent. States Southeast & Southwest Areas Health &
   Welfare Fund v. Merck–Medco Managed Care, L.L.C.,
   504 F.3d 229 (2d Cir. 2007).....................................................................................................13

In re Cybertronics, Inc. Sec. Litig.,
    468 F. Supp. 2d 936 (S.D. Tex. 2006) .......................................................................................8

Dube v. Signet Jewelers Ltd.,
   2017 WL 1379385 (S.D.N.Y. Apr. 14, 2017).................................................................. passim

Galmi v. Teva Pharm. Indus. Ltd.,
   302 F. Supp. 3d 485 (D. Conn. 2017) ....................................................................................3, 9

Hachem v. Gen. Elec. Inc.,
   2018 WL 1779345 (S.D.N.Y. Apr. 12, 2018)............................................................................9

Kaplan v. S.A.C. Capital Advisors, L.P.,
   947 F. Supp. 2d 366 (S.D.N.Y. 2013)........................................................................................9

In re Leapfrog Enter., Inc. Sec. Litig.,
    2005 WL 5327775 (N.D. Cal. July 5, 2005) .................................................................... passim

NECA–IBEW Health & Welfare Fund v. Goldman Sachs & Co.,
  693 F.3d 145 (2d Cir. 2012).....................................................................................................11

Raines v. Byrd,
   521 U.S. 811 (1997) .................................................................................................................12




                                                                    ii
            Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 4 of 23



Ravens v. Iftikar,
   174 F.R.D. 651 (N.D. Cal. 1997) ...............................................................................................7

Ret. Bd. of the Policemen’s Annuity & Ben. Fund
    of the City of Chicago v. Bank of New York Mellon,
    775 F.3d 154 (2d Cir. 2014).............................................................................................2, 4, 12

In re Select Comfort Corp. Sec. Litig.,
    2000 WL 35529101 (D. Minn. Jan. 27, 2000) ...........................................................................8

In re STEC Inc.,
    2010 WL 11469019 (C.D. Cal. July 14, 2010) ..........................................................................9

Teamsters Local 445 Freight Div.
   Pension Fund v. Bombardier, Inc.,
   546 F.3d 196 (2d Cir. 2008).....................................................................................................13

Teamsters Local 445 Freight Div.
   Pension Fund v. Bombardier, Inc.,
   2005 WL 1322721 (S.D.N.Y. June 1, 2005) .........................................................................8, 9

Vanleeuwen v. Keyuan Petrochemicals, Inc.,
   2013 WL 2247394 (C.D. Cal. May 9, 2013) .............................................................................9

Federal Statutes

15 U.S.C. § 78t-1 ................................................................................................................... passim

15 U.S.C. § 78u-4(a)(3)(A) ..............................................................................................................7

15 U.S.C. § 78u-4(a)(3)(B)(i) ..........................................................................................................7

Other Authorities

6 Moore’s Federal Practice § 24.20 (3d ed.) ..................................................................................16

Fed. R. Civ. P. 23(a) ......................................................................................................................13

Fed. R. Civ. P. 24 ...........................................................................................................................14

Fed. R. Civ. P. 24(a) ......................................................................................................................14

Fed. R. Civ. P. 24(b)(1)(B) ............................................................................................................16

Fed. R. Civ. P. 24(b)(3)..................................................................................................................16

Fed. R. Civ. P. 24(c) ......................................................................................................................15

Fed. R. Civ. P. 26(f) .........................................................................................................................6


                                                                      iii
           Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 5 of 23



H.R. Conf. Rep. No. 104-369 (1995) ...............................................................................................7




                                                                iv
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 6 of 23



                                    I.      INTRODUCTION

       The Court should allow HMG Global Initiative Inc. (“HMG”) to intervene to obtain an

order striking the new claims and allegations in the Second Amended Complaint (“SAC”) as an

improper pleading under the Private Securities Litigation Reform Act (“PSLRA”).1 Without

providing notice to class members, Lead Plaintiff Ontario Teachers’ Pension Plan Board

(“Ontario Teachers”) has filed an amended pleading that “substantially alters the claims and

class members.”2 In a calculated gambit to swallow the Transferred Action, the SAC has

“dramatically alter[ed] the contours of this lawsuit” by: (1) extending this action’s class period

again by nearly two years (ECF No. 310 at ¶ 1); (2) alleging the completely different false

statements (id. at ¶¶ 250-55) and corrective disclosures alleged in the Transferred Action (id. at

¶¶ 372-76); and (3) naming the completely different individual defendants (id. at 31-32).3

       Yet, the record establishes that Ontario Teachers is by no means a proper representative

of the newly alleged class, as the PSLRA so intends. Preliminarily, unlike other cases where the

lead plaintiff actively sought to incorporate new class members’ claims, Ontario Teachers

stridently opposed prosecution of the Transferred Action’s claims. Specifically, in an unsolicited




   1
     Separately, by January 3, 2020, HMG will file an opposition to the parties’ joint motion to
consolidate Emps.’ Ret. Sys. of the City of St. Petersburg, Florida v. Teva Pharm. Indus. Ltd.,
No. 3:19-cv-01768-SRU (D. Conn.) with the instant action for all purposes, but will not oppose
coordination or limited consolidation with this case to facilitate and streamline discovery. At the
same time, HMG will suggest modifications to the proposed order of consolidation submitted by
the parties to conform to the requirements of the PSLRA and standing.
   2
     Dube v. Signet Jewelers Ltd., No. 1:16-cv-06728-JMF, 2017 WL 1379385, at *1 (S.D.N.Y.
Apr. 14, 2017) (courts require PSLRA notice where amended complaint “substantially alters the
claims or class members.”) (citing cases).
   3
      In re Leapfrog Enter., Inc. Sec. Litig., No. 5:03-cv-05421-RMW, 2005 WL 5327775, at *3-
4 (N.D. Cal. July 5, 2005) (lead plaintiff overstepped its authority by filing amended complaint
“that dramatically alters the contours of the lawsuit.”).


                                                 1
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 7 of 23



submission opposing the transfer of the case to this Court, Ontario Teacher disclaimed interest,

arguing this case and the Transferred Action should proceed independently given their “separate

and distinct” claims. ECF No. 33 at 2.

       In any case, Ontario Teachers lacks class standing to pursue the Transferred Action’s

claims. Ontario Teachers has no financial stake in proving the Transferred Action’s claims, as it

made no purchases relating to the new false statements. Moreover, as Ontario Teachers has

admitted, Ontario Teachers’ claims and those of the Transferred Action’s class “are not

sufficiently related,” as they involve “entirely different alleged false statements and a different

theory of falsity,” and “there is no overlap between the individual defendants.” ECF No. 33 at 2.

Thus, according to Ontario Teachers, “discovery and proof” in the two actions will be “separate

and distinct.” Id. As a result, Ontario Teachers’ claims do not implicate the “same set of

concerns” as those of the Transferred Action’s class, thereby prohibiting Ontario Teachers from

asserting them.4

       What’s more, Ontario Teachers’ unprecedented collaboration with Defendants in filing

the SAC raises serious concerns regarding its adequacy and typicality. In addition to consenting

to the filing of the SAC, Defendants moved jointly with Ontario Teachers to consolidate the

Transferred Action for all purposes. Moreover, Defendants gifted Ontario Teachers an

unprecedented waiver of rights and defenses – including agreements not to challenge Ontario

Teachers’ standing, adequacy, and typicality, as well as forgo any motion to dismiss the SAC




   4
     Ret. Bd. of the Policemen’s Annuity & Ben. Fund of the City of Chicago v. Bank of New
York Mellon, 775 F.3d 154, 161 (2d Cir. 2014) (named plaintiff lacked class standing since its
claims “[did] not implicate the ‘same set of concerns’ as those of absent class members;” named
plaintiff did not purchase the same investments and the absent class members’ claims involved
“significant differences in the proof.”).


                                                  2
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 8 of 23



(ECF No. 311); all of which suggests collusion between counsel for the Lead Plaintiff and

counsel for the Class’s adversaries.

       In short, with the SAC and motion to consolidate, Ontario Teachers’ and Defendants’

motives are clear: to evade the PSLRA’s requirements and thereby wrest control of the

Transferred Action—while at the same time placing the valuable “distinct and separate” claims

asserted in the Transferred Action in the hands of a lead plaintiff that lacks standing to assert and

has expressed a disinterest in prosecuting them. The Court should not permit such an improper

end-run around the PSLRA. Based on HMG’s significant purchases during the Expanded Class

Period and its substantial losses sustained on its Teva ADS investments, HMG is entitled to

intervene in the pending action to seek an order striking the new allegations and claims in the

SAC.

                           II.     PROCEDURAL BACKGROUND

       Ontario Teachers’ Pension Plan Board (“Ontario Teachers”) originally sought and was

appointed to serve as lead plaintiff on behalf of a class of persons who purchased or acquired

Teva Pharmaceutical Industries Ltd. (“Teva” or the “Company”) American Depository Shares

(“ADSs”) between February 10, 2014, and November 3, 2016 (the “Original Class”). ECF No.

25; see also Galmi v. Teva Pharm. Indus. Ltd., 302 F. Supp. 3d 485, 491 (D. Conn. 2017).

Through various amended complaints, Ontario Teachers has litigated this securities class action

over the past two years on behalf of a broader class of investors who purchased Teva securities

between February 6, 2014 and August 3, 2017. ECF Nos. 141, 226. The most recent and

operative complaint, until now, was filed on June 6, 2018, well after the end-date for the Class

that Ontario Teachers selected. ECF No. 226.




                                                  3
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 9 of 23



       On June 21, 2019, a new securities class action was filed against Teva and different

senior executives in the Eastern District of Pennsylvania, Employees’ Retirement System of The

City of St. Petersburg, Florida v. Teva Pharmaceutical Industries Ltd., et al., No. 2:19-cv-

02711-CMR, which was subsequently transferred to this Court (the “Transferred Action” or

“TA”), TA ECF No. 1, 50. Although Teva is a defendant in both actions, the claims in the two

cases have critical differences implicating a different “set of concerns.”5 The Transferred Action

involves a different class period, different individual defendants, different alleged false

statements that concern different subject matters, a different theory of liability, and different

corrective disclosures. Specifically, while this action focuses on misstatements made by the

Company and its then executive officers from February 6, 2014 to August 3, 2017, related to

pricing trends, competition and prospective revenues, the Transferred Action alleges

misstatements made by different Teva executives for a later period of August 4, 2017 through

May 10, 2019 regarding different subject matter; i.e., Defendants’ false denials of antitrust

liability. In fact, as Ontario Teachers admits, discovery and proof in the two cases will be

“separate and distinct.” See Transferred Action, ECF No. 33 at 2 (emphasis added).6

       The PSLRA-mandated press release for the Transferred Action was published on June

24, 2019, notifying Teva investors of the pendency of the action, its allegations, and the deadline




   5
     See Policemen’s Annuity, 775 F.3d at 162 (named plaintiff in a putative class action does
not have class standing to assert absent members’ claims that implicate a different set of
concerns).
   6
     HMG was the first to seek transfer to this Court, as related, recognizing some, but not
complete, overlap in witnesses, documents, and anticompetitive conduct. TA ECF No. 14-1 at
12-14; TA ECF No. 26 at 27. Though not a party to the Transferred Action, Ontario Teachers
was so opposed to the transfer that it filed a gratuitous submission claiming the “motion to
transfer should be denied because the [Transferred] action is not sufficiently related to warrant
transfer.” TA ECF No. 33 at 1.


                                                  4
            Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 10 of 23



for investors to move for lead plaintiff appointment. See Transferred Action, ECF No. 14-5. On

August 23, 2019, HMG timely filed its lead plaintiff motion. See Transferred Action, ECF No.

14. Three other movants also sought appointment. See Transferred Action, ECF Nos. 11-13.

HMG’s $1.9 million loss was the largest of all competing movants,7 and HMG’s leadership was

supported by several competing moving class members. See Transferred Action, ECF Nos. 20,

22.

            Ontario Teachers knew about the lead plaintiff briefing in the Transferred Action. See

Transferred Action, ECF No. 33. Yet, Ontario Teachers did not challenge the PSLRA notice,

attempt to intervene, or seek lead plaintiff appointment. To the contrary, Ontario Teachers

disclaimed any interest in the case. Specifically, after lead plaintiff briefing was completed,

Ontario Teachers filed an unsolicited submission in the Pennsylvania court opposing transfer of

the Transferred Action to this Court, arguing the actions lacked sufficient common legal or

factual issues. See Transferred Action, ECF No. 33. According to Ontario Teachers, the two

cases involved “entirely different alleged false statements and a different theory of falsity,” and

were subject to “separate and distinct” “discovery and proof.” Id. at 2. Ontario Teachers also

highlighted the lack of overlap between the individual defendants. Id. Thus, Ontario Teachers

asserted the two actions should proceed separately. Id.

            On December 13, 2019, nearly six months after the Transferred Action was filed and

nearly four months after the deadline to seek lead plaintiff appointment in the Transferred

Action, Ontario Teachers filed a Second Amended Complaint in this action with Defendants’

consent. ECF No. 310. Though the parties had represented future amendments would address



      7
          Cf. Transferred Action ECF Nos. 14-4; 13-5; 11-5; and 12-6.



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         Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 11 of 23



unidentified “perceived defects in the pleadings” (Rule 26(f) Report of Parties’ Planning

Meeting, ECF No. 287 at 10), the proposed SAC fails to do so. Instead, the SAC: (1) extends

this action’s class period again by nearly two years (ECF No. 310 at ¶ 1); (2) alleges the

completely different false statements (id. at ¶¶ 250-55) and corrective disclosures alleged in the

Transferred Action (id. at ¶¶ 372-76); and (3) names new individual defendants (id. at 31-32).

         At the same time, Ontario Teachers and Named Plaintiff Anchorage Police & Fire

Retirement System (“Anchorage”) have filed certifications of trades during the expanded class

period confirming that neither one has standing to assert—let alone the incentive to prove—any

of these new claims. ECF No. 310, Certifications. To the contrary, Ontario Teachers’

Certification reflects that it made no purchases relating to the new false statements, but rather

profited from the fraud alleged in the Transferred Action by selling all of its remaining shares –

plus some pre-class period acquired shares – of Teva ADS at a time when the Transferred Action

alleges the ADS share price was artificially inflated.8

                                       III.   ARGUMENT

A.       The SAC Is An Improper End-Run Around
         The PSLRA’s Notice And Lead Plaintiff Selection Process

         The Securities Exchange Act of 1934, as amended in 1995 by the PSLRA, established

rigorous requirements for notifying a purported plaintiff class and selecting a lead plaintiff in

securities class actions.




     8
      See ECF No. 310 at Ontario Teachers Certification. An analysis of Ontario Teachers’
certification reveals it sold more than 200,000 shares more than it bought in the entire extended
Class Period. For the Transferred Action Class Period it has no purchases and 940,000 sales for
proceeds of $13,258,209.60. Id.


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       Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 12 of 23



       First, within twenty days after a complaint is filed, the plaintiff must publish notice to

members of the purported class (i) “of the pendency of the action, the claims asserted therein,

and the purported class period”; and (ii) “that, not later than 60 days after the date on which the

notice is published, any member of the purported class may move the court to serve as lead

plaintiff of the purported class.” 15 U.S.C. § 78u-4(a)(3)(A) (emphasis added).

       Second, the Court shall consider any motion by a class member for appointment as lead

plaintiff within 90 days after publication of the notice. 15 U.S.C. § 78u-4(a)(3)(B)(i). The

requirements are no mere formality. As explained in the Conference Committee Report, these

provisions “are intended to encourage the most capable representatives of the plaintiff class to

participate in class action litigation and to exercise supervision and control of the lawyers for the

class” and ensure that “parties with significant holdings in issuers, whose interests are more

strongly aligned with the class of shareholders, will participate in the litigation and exercise

control over the selection of actions of plaintiff’s counsel . . . .” Ravens v. Iftikar, 174 F.R.D.

651, 658 (N.D. Cal. 1997) (quoting the Statement of Managers in H.R. Conf. Rep. No. 104-369

at 32 (1995)).

       As here, when a complaint is expanded to extend a class period and allege new corrective

disclosures and new theories after the appointment of a lead plaintiff, courts generally require the

publication of a new PSLRA notice. Signet Jewelers Ltd., 2017 WL 1379385, at *1-2 (ordering

lead plaintiff to republish notice pursuant to the PSLRA to reflect new class period and theories

alleged in the second amended complaint). The rationale is straightforward and consistent with

the PSLRA’s objectives: to ensure the most capable representation by a plaintiff with interests

aligned with the proposed class. As such, courts routinely prohibit a lead plaintiff from filing an

amended complaint encompassing a new class period and liability theory without first providing




                                                   7
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 13 of 23



notice of the new claims to others who may wish to serve as a lead plaintiff. See, e.g., In re

Cybertronics, Inc. Sec. Litig., 468 F. Supp. 2d 936, 940 (S.D. Tex. 2006) (requiring republication

where amended complaint “substantially expand[ed] the potential class of plaintiffs by adding

new claims and significantly expanding the class period”); In re LeapFrog Enter., Inc. Sec.

Litig., 2005 WL 5327775, at *3 (requiring republication where consolidated complaint included

new allegations and expanded class period by nine months); Teamsters Local 445 Freight Div.

Pension Fund v. Bombardier, Inc., No. 1:05-cv-01898, 2005 WL 1322721, at *3 (S.D.N.Y. June

1, 2005); In re Select Comfort Corp. Sec. Litig., No. 0:99-cv-00884-DSD, 2000 WL 35529101,

at *7-*8 (D. Minn. Jan. 27, 2000) (requiring new notice where “entirely new factual and legal

allegations . . . affect[ed] a new class of plaintiffs”).

        In Teamsters Local 445, the court summed up the applicable equitable considerations for

when a Lead Plaintiff attempts to “substantially expand” by the filing of an amended complaint

that adds new claims without properly notifying the class:

                Allowing plaintiffs in this case to proceed without publishing a new
                notice reflecting their additional claims would potentially exclude
                qualified movants from the lead plaintiff selection process.
                Although appointment is certainly easier – and thus more efficient
                – when there is only one movant, it is contrary to the spirit of the
                PSLRA to achieve that efficiency by failing to notify potential
                movants of their rights. Where membership of a class is
                substantially expanded by the filing of an amended complaint that
                adds new claims, fairness dictates that those new class members
                ought to be informed of the existence of pending claims that may
                affect their rights.

Teamsters Local 445, 2005 WL 1322721, at *3 (emphasis added).

        Leapfrog is also instructive. There, the original complaint covered a six-month class

period. WL 5327775, at *4. Additional facts emerged shortly thereafter and a second plaintiff

filed a complaint for a seven-month period that followed the original period. Id. at *5. The lead




                                                    8
         Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 14 of 23



plaintiff in the original case filed an amended complaint combining both class periods from the

two actions. Id. The second plaintiff objected, arguing new notice was required. Id. at *4. The

court agreed, finding the original complaint’s six-month class period compared to the amended

complaint’s fifteen-month class period “dramatically alters the contours of the lawsuit.” Id. at

*10.

         Here, by any reasonable measure, the SAC qualifies as a “substantial” amendment that

implicates the PSLRA’s notice and lead plaintiff selection procedures. See Signet Jewelers Ltd.,

2017 WL 1379385, at *2; Kaplan v. S.A.C. Capital Advisors, L.P., 947 F. Supp. 2d 366, 367

(S.D.N.Y. 2013). First, the SAC adds two and half more years (November 6, 2016, to May 10,

2019, inclusive) to the original class period for which Ontario Teachers was appointed lead

plaintiff,9 and nearly two years to the class period Ontario Teachers alleged in its previous

complaints.10 This expansion is a much larger class period increase than many courts have held

warranted republication. See Kaplan, 947 F. Supp. 2d at 367 (24 months); Vanleeuwen v.

Keyuan Petrochemicals, Inc., No. 2:11-cv-09495-PSG-JCG, 2013 WL 2247394, at *6 (C.D. Cal.

May 9, 2013) (4 months); In re STEC Inc., No. 2:09-cv-08536-JVS-MLGX, 2010 WL

11469019, at *4 (C.D. Cal. July 14, 2010) (4 months); In re Leapfrog Enter., Inc. Sec. Litig.,

2005 WL 5327775, at *3 (9 months); Teamsters Local 445, 2005 WL 1322721, at *2 (6 months).

         Second, by enveloping the Transferred Action, the SAC alters dramatically the gravamen

of the claims alleged against the Defendants. See, e.g., Hachem v. Gen. Elec. Inc., No. 1:17-cv-

08457-JMF, 2018 WL 1779345, at *2 (S.D.N.Y. Apr. 12, 2018) (expansion of class period and

allegations of additional stock drops altered “dramatically the gravamen of the claims alleged



   9
       See ECF Nos. 1, 26-4; see also Galmi, 302 F. Supp. 3d at 491.
   10
        See ECF Nos. 141, 226.


                                                 9
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 15 of 23



against Defendants.”). In previous iterations of the complaint, this action’s claims were limited

to Teva’s earlier misstatements concerning pricing trends, competition, and the catalyst of Teva’s

financial performance. See ECF Nos. 141, 226. In the SAC, by contrast, Ontario Teachers

asserts a categorically different theory of securities fraud poached from the Transferred Action:

Teva’s denials of antitrust liability in statements made between August 4, 2017 and May 10,

2019, in connection with subpoenas from the U.S. Department of Justice and specific lawsuits

brought by certain state Attorneys General and private plaintiffs. ECF No. 310 at ¶¶ 250-55.11

None of these statements was made during the Class Period for which Ontario sought to be

named Lead Plaintiff. As Ontario Teachers has admitted, this is “a different theory of falsity,”

which will entail “separate and distinct” “discovery and proof.”12 ECF No. 33 at 2. Thus,

similar to Leapfrog, the claims asserted in the Transferred Action and now included in the SAC

are properly subject to a separate PSLRA early notice, as they concern new misconduct




   11
       Altogether, the SAC alleges six categories of false statements. ECF No. 310 at ¶¶ 165-
267. Except as to Category 5 – the false denials of Teva’s participation in collusive conduct
stitched in from the Transferred Action – there are no identified false statements alleged to have
occurred after May of 2017. Most categories end much earlier. Category 1 –
omissions regarding the failure to disclose trends in the Price-Hike Strategy - effectively ends
shortly after June, 2016. Id. at ¶ 171. Category 2 – false statements regarding “intense” or
“fierce” competition – ends in 2015. Id. at ¶¶ 176-81. Category 3 –false statements relating to
pricing – ends on February 13, 2017. Id. at ¶ 246. Category 4 –false statements relating to
concealment of the DOJ and AG Subpoenas – relate solely to Notes Offering Materials
distributed in July 2016. Id. at ¶¶ 133, 248. Finally, Category 6 – false statements relating to the
Actavis acquisition – ends on May 11, 2017. Id. at ¶ 266.
   12
      Significantly, the new Category 5 begins with Defendants’ statements in Teva’s August 3,
2017 SEC filings, which Ontario Teachers’ June 22, 2018 operative complaint alleged as
corrective disclosures fully revealing Defendants’ fraud. See ECF No. 226 at ¶¶ 334-337.
Ontario Teachers June 22, 2018 complaint, filed almost a year after the corrective disclosure and
the subject of this Court’s September 25, 2019 order upholding certain claims makes no
allegation that Defendants’ August 3, 2017 disclosure was false.


                                                10
          Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 16 of 23



regarding Teva’s antitrust liability and an expanded class period that would alter the more

narrowly drawn contours of this action. Id. at *3.

B.        Ontario Teachers Lacks Class Standing To Assert
          And Cannot Adequately Represent The Transferred Action’s Class

          Based on the criteria set forth in the PSLRA, Ontario Teachers is by no means a properly

suited investor to represent the interests of the Transferred Action’s class members and prosecute

these admittedly “separate and distinct” claims. See Signet Jewelers Ltd., 2017 WL 1379385, at

*2 (republication further warranted due to “very real possibility that—based on the criteria set

forth in the PSLRA—Lead Plaintiffs are not the best suited to represent the interests of the class

under the Second Amended Complaint.”).

          First, Ontario Teachers lacks class standing to represent the Transferred Action’s Class.

Ontario Teachers’ most recent purchase of Teva ADS was on September 26, 2016, nearly a year

before the start of the Transferred Action’s alleged class period (August 4, 2017). See ECF No.

310 at Ontario Teachers’ Certification. In addition, Ontario Teachers sold prolifically

throughout Transferred Action’s class period, a period when the Transferred Action alleges Teva

ADS was artificially inflated. Id. Accordingly, Ontario Teachers has no stake in prosecuting the

new claims stitched in from the Transferred Action.

          More fundamentally, in contrast to NECA,13 as well as this Court’s Order denying in

substantial part and granting in part Defendants’ motion to dismiss (ECF No. 283 at 68-70),

where the defendants’ alleged Securities Act violations inhered in making the same

misstatements to investors, the nature of Ontario Teachers’ claims are markedly different than




     13
     NECA–IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145 (2d Cir.
2012).


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       Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 17 of 23



those of the class in the Transferred Action, which “generates significant differences in the proof

that will be offered [in each case.]” Policemen’s Annuity, 775 F.3d at 163. Specifically, Ontario

Teachers’ claims rest on showing Defendants made false and misleading statements with scienter

when reporting Teva’s financials and characterizing competition in the market. This will require

Ontario Teachers proving Teva’s illegal anticompetitive conduct drove its superior financial

performance. In contrast, Defendants’ alleged misconduct in the Transferred Action – Teva’s

false denials of antitrust liability – need not be proved through Teva’s underlying antitrust

violations. Rather, the evidence will focus on Defendants’ knowledge of facts revealed in the

State AGs Complaint and the liability risk to Teva arising therefrom. “As a result, [Ontario

Teachers’] claims do not implicate the ‘same set of concerns’ as those of [of the Transferred

Action’s Class.” Policemen’s Annuity, 775 F.3d at 163.

       Second, the record demonstrates Ontario Teachers is an inadequate and atypical

representative of the Transferred Action’s class. Indeed, Ontario Teachers has previously

expressed in unsolicited court filings an opposition to prosecuting the Transferred Action’s

claims, stating that the claims “are not sufficiently related,” focus on “entirely different alleged

false statements and a different theory of falsity” made in a completely different time period by

different individual defendants, and will have “separate and distinct” “discovery and proof.” TA

ECF No. 33 at 1-2. The fact that Ontario Teachers – or better yet its counsel – is now willing to

prosecute these claims is inconsequential. “The fact that it would be possible for a plaintiff to

litigate a given claim plainly does not imply that she should be the one to litigate it.”

Policemen’s Annuity, 775 F.3d at 163 (citing Raines v. Byrd, 521 U.S. 811, 818 (1997).

       Finally, that Defendants have agreed not to challenge Ontario Teachers’ standing,

typicality or adequacy (see ECF No. 350 at 15) should not assure the Court. To the contrary, it is




                                                  12
          Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 18 of 23



a red flag on whether Ontario Teachers is an adequate representative for any claims as it appears

to have forsaken its adversarial relationship with defendants. Putting aside the question of

whether such an agreement is enforceable and the fact than an absent class member can raise

these challenges at any time, a class representative’s standing, typicality and adequacy are all

issues the Court must independently determine. See Cent. States Southeast & Southwest Areas

Health & Welfare Fund v. Merck–Medco Managed Care, L.L.C., 504 F.3d 229, 241 (2d Cir.

2007) (district court must independently determine whether a plaintiff has standing before

determining if the plaintiff may be a class representative); see also Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 613 (1997) (to certify a putative class, the Court must first determine

whether the asserted claims meet the four threshold requirements of Rule 23(a)); Teamsters

Local 445 Freight Div. Pension Fund v. Bombardier, Inc., 546 F.3d 196, 201-02 (2d Cir. 2008)

(same).

C.        The Court Should Strike The New Allegations In The Second Amended Complaint
          And Order Ontario Teachers To Proceed Solely On The Claims In The First
          Amended Complaint

          Though the SAC’s new allegations and claims undoubtedly implicate the PSLRA’s early

notice provisions, an order for republication of a PSLRA early notice is unnecessary and would

frustrate the interests of both Teva investors and judicial efficiency. Preliminarily, investors

impacted by the claims and allegations asserted in the Transferred Action have already received

a proper PSLRA early notice and have been given a fair opportunity to move for lead plaintiff to

steward these claims. Transferred Action, ECF No. 14-5. Indeed, several qualified candidates

moved to be appointed lead plaintiff, including HMG, which possessed the largest financial

interest in the relief sought by the class. Transferred Action, ECF Nos. 11-14.

          More fundamentally, the revisiting of the lead plaintiff and lead counsel selection that

would invariably follow republication would lead to delay and potentially prejudice Teva


                                                  13
       Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 19 of 23



investors. Re-opening of the lead plaintiff process would necessitate a stay in this case, where

the Court has sustained certain of Ontario Teachers’ claims on which the parties have already

begun to proceed with discovery. ECF No. 296. In addition, appointment of a new Lead

Plaintiff would necessitate the filing a new consolidated amended complaint, thereby

jeopardizing the timeliness of claims on certain of Defendants’ earlier statements in this case

under their applicable statutes of repose. See, e.g., California Pub. Employees’ Ret. Sys. v. ANZ

Sec., Inc., 137 S. Ct. 2042, 2052 (2017) (American Pipe tolling rule does not apply to the 3-year

bar mandated in § 13 of the Securities Act).

       Instead, the more prudent action would be for the Court to strike the new claims and

allegations in the SAC embracing the Transferred Action and order Ontario Teachers to revert to

the claims and allegations in its First Amended Complaint. Such an approach would be similar

to the offer Judge Jesse M. Furman posed to the lead plaintiff in Signet Jewelers Ltd., 2017 WL

1379385, at *2, after the lead plaintiff filed a Second Amended Complaint alleging entirely new

alleged misconduct during an entirely new time period. This remedy would insure Teva

investors’ interests are both properly represented and protected, while causing Defendants no

prejudice. The properly appointed Lead Plaintiff should be the master of any amendment. In re

Bank of Am. Corp. Sec., Derivative & Emp. Ret. Income Sec. Act (ERISA) Litig., MDL No. 2058,

2010 WL 1438980, at *2 (S.D.N.Y. Apr. 9, 2010).

D.     HMG Fulfills The Requirements To Intervene

       The Court should grant HMG’s motion to intervene in this case because HMG has met its

burden with respect to all elements of intervention as-of-right as well as of permissive

intervention under Rule 24 of the Federal Rules of Civil Procedure.

       Rule 24(a) states that intervention of right is to be permitted upon timely application

“when the applicant claims an interest relating to the property or transaction which is the subject


                                                14
        Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 20 of 23



of the action and the applicant is so situated that the disposition of the action may as a practical

matter impair or impede the applicant’s ability to protect that interest, unless the applicant’s

interest is adequately represented by existing parties.”

        Here, HMG’s motion is timely, as Lead Plaintiff filed its Second Amended Complaint on

December 13, 2019. Moreover, based on the SAC’s expanded class period, HMG undoubtedly

has a significant interest in this litigation. HMG is a member of the new class and has in fact

sustained a loss based on its investment in Teva securities in excess of $1.9 million. Transferred

Action, ECF Nos. 14-3, 14-4. HMG is the largest movant for Lead Plaintiff in the Transferred

Action, and ostensibly the sole remaining movant.14 An adjudication of the claims in the

Expanded Class Period could have an adverse impact on HMG and all class members, and may

well have a res judicata effect as to any claim based on Defendants’ misconduct. Further, as a

class member and lead plaintiff movant, HMG has a clear interest in seeing that the strictures of

the PSLRA’s notice and lead plaintiff application and selection requirements are complied with.

        Finally, neither Ontario Teachers nor Anchorage can adequately protect the interests

HMG and other members of class under the Expanded Class Period. The certifications

submitted with the Second Amended Complaint all reflect purchases of Teva securities prior to

August 4, 2017. Thus, these plaintiffs have no interest whatsoever in prosecuting the newly

alleged claims arising during the Expanded Class Period.15



   14
      The Huang & Geraldino Group and the Magana & Erani Group support HMG’s
appointment. Transferred Action, ECF Nos. 20, 22. The remaining movant, Employees’
Retirement System of the City of St. Petersburg has filed a notice of non-opposition to
consolidation of the Transferred Action with the instant case. Transferred Action, ECF No. 70 at
1-2.
   15
      No independent pleading pursuant to Federal Rule of Civil Procedure 24(c) is being filed
by HMG at this time. Where, as here, the limited grounds for intervention is clear, no pleading is
required. See Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 474 (9th Cir. 1992) (“Courts,


                                                 15
       Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 21 of 23



       Moreover, HMG satisfies the requirements for permissive intervention. Federal Rule of

Civil Procedure 24(b)(1) provides that “[o]n timely motion, the court may permit anyone to

intervene who: (A) is given a conditional right to intervene by federal statute; or (B) has a claim

or defense that shares with the main action a common question of law or fact. Fed. R. Civ. P.

24(b)(1). HMG has a “claim . . . that shares with the [consolidated Ontario Teachers’ action] a

common question of law or fact,” see Fed. R. Civ. P. 24(b)(1)(B). In addition, the “court must

consider whether the intervention will unduly delay or prejudice the adjudication of the original

parties' rights.” Fed. R. Civ. P. 24(b)(3). Allowing HMG to intervene to seek the limited relief

discussed herein will not unduly delay or prejudice other parties, and there is no basis to find that

HMG’s motion is untimely.

                                     IV.     CONCLUSION

       Based on the foregoing, HMG respectfully requests that the Court enter an Order: (1)

granting HMG’s request to intervene in the pending action; and (2) striking the new claims and

allegations in the Second Amended Complaint.

DATED: December 20, 2019                      HAGENS BERMAN SOBOL SHAPIRO LLP

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including this one, have approved intervention motions without a pleading where the court was
otherwise apprised for the grounds of the motion.”); 6 Moore’s Federal Practice § 24.20 (3d ed.)
(“court may approve an intervention motion that is not accompanied by a pleading if the court is
otherwise apprised of the grounds for the motion.”).


                                                 16
Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 22 of 23



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                               17
       Case 3:17-cv-00558-SRU Document 313 Filed 12/20/19 Page 23 of 23



                                CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the e-

mail addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List,

and I hereby certify that I have mailed a paper copy of the foregoing document via the United

States Postal Service to the non-CM/ECF participants indicated on the Manual Notice List

generated by the CM/ECF system.



                                                             /s/ Reed R. Kathrein
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